    CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 1 of 39




                 UNITED STATES DISTRICT COURT
                    DISTRICT OF MINNESOTA



IN RE POLARIS MARKETING,            18-CV-0939 (WMW-DTS)
SALES PRACTICES, AND
PRODUCTS LIABILITY LITIGATION


DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR MOTION
TO DISMISS PLAINTIFFS’ FIRST AMENDED CONSOLIDATED COMPLAINT

                              Wendy J. Wildung (MN #117055)
                              Faegre Baker Daniels LLP
                              2200 Wells Fargo Center, 90 S. 7th St.
                              Minneapolis, MN 55402
                              Tel: (612) 766-7759
                              wendy.wildung@FaegreBD.com

                              Richard C. Godfrey, P.C. (admitted pro hac vice)
                              Andrew B. Bloomer, P.C. (admitted pro hac vice)
                              Paul Collier (admitted pro hac vice)
                              R. Allan Pixton (admitted pro hac vice)
                              KIRKLAND & ELLIS LLP
                              300 North LaSalle St.
                              Chicago, IL 60654-3406
                              Tel: (312) 862-2000
                              Fax: (312) 862-2200
                              richard.godfrey@kirkland.com
                              andrew.bloomer@kirkland.com
                              paul.collier@kirkland.com
                              allan.pixton@kirkland.com

                              Attorneys for Defendants Polaris Industries Inc.
                              and Polaris Sales Inc.
           CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 2 of 39




                                                  TABLE OF CONTENTS

                                                                                                                                         Page
INTRODUCTION .......................................................................................................................... 1

STATEMENT OF ALLEGED AND JUDICIALLY NOTICEABLE FACTS.............................. 4

          A.         The Parties. ............................................................................................................. 4

          B.         Plaintiffs’ Vehicles Were Covered by Polaris’ Limited Warranty. ........................ 6

          C.         Plaintiffs’ Claims And Alleged Damages. .............................................................. 7

ARGUMENT .................................................................................................................................. 7

I.        THE UNAFFECTED PLAINTIFFS SHOULD BE DISMISSED FOR LACK OF
          STANDING AND FAILURE TO ALLEGE A MANIFEST DEFECT. ............................ 7

          A.         Seven Unaffected Plaintiffs Lack Article III Standing To Assert Claims. ............. 8

          B.         The Unaffected Plaintiffs’ Claims Fail Under Well-Settled Precedent. ............... 12

          C.         Six Unaffected Plaintiffs’ Claims Also Fail Under State Law Because
                     They Allege No Manifest Defect. ......................................................................... 15

II.       THE MAJORITY OF PLAINTIFFS’ WARRANTY AND MAGNUSON-MOSS
          CLAIMS FAIL AS A MATTER OF LAW. ..................................................................... 18

          A.         Eleven Plaintiffs’ UCC Warranty Claims Are Barred Because They Do
                     Not Allege Pre-Suit Notice. .................................................................................. 20

          B.         Thirteen Plaintiffs’ Express Warranty Claims Are Barred By Polaris’
                     Limited Warranty. ................................................................................................. 20

          C.         Ten Plaintiffs’ Implied Warranty Claims Are Barred By Polaris’ Limited
                     Warranty. .............................................................................................................. 23

          D.         Plaintiffs’ Magnuson-Moss Claims Should Be Dismissed. .................................. 25

III.      THE UNJUST ENRICHMENT CLAIMS OF SEVERAL PLAINTIFFS FAIL. ............ 26

          A.         Certain Unjust Enrichment Claims Fail Because Plaintiffs Did Not
                     Directly Confer A Benefit On Polaris. .................................................................. 26

IV.       CERTAIN PLAINTIFFS’ FRAUD-BASED CLAIMS FAIL AS A MATTER OF
          LAW. ................................................................................................................................ 27




                                                                       i
           CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 3 of 39

                                         TABLE OF CONTENTS (CONT'D)

                                                                                                                                   Page

          A.         The Economic Loss Doctrine Bars Consumer and Common Law Fraud
                     Claims Under Texas and Pennsylvania Law. ....................................................... 27

          B.         Louisiana, Pennsylvania, South Dakota and Texas Do Not Impose A Duty
                     To Disclose Under The Facts Alleged By Plaintiffs............................................. 30

          C.         Luna And Guthrie Fail To State Consumer And Common Law Fraud
                     Claims Against Polaris.......................................................................................... 32

V.        FOUR OF GUTHRIE’S CLAIMS ARE BARRED BY LOUISIANA LAW. ................. 33

CONCLUSION ............................................................................................................................. 34




                                                                    ii
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 4 of 39




                                     INTRODUCTION

       Plaintiffs allege claims on behalf of 14 consumers in 13 states seeking to represent

300,000 Polaris off-road vehicle owners nationwide. (¶263.) 1 The Complaint alleges an

“Excessive Heat Defect” that “immediately affects all Class Vehicles because it degrades

the Class Vehicles’ component parts, reduces the Class Vehicles’ service life, and makes

them vulnerable to catastrophic fires.” (¶1.) With the exception of plaintiffs Jose Luna’s

unjust enrichment and warranty claims, Clint Halvorsrod’s and Chad Rogers’ consumer

fraud claims, Les Turgeon’s unjust enrichment and consumer fraud claims, and Jimmy

Guthrie’s redhibition claims, the Complaint fails to state a claim upon which relief can be

granted and should be dismissed.

       First, relying on well-settled precedent, this Court previously dismissed the claims

of seven plaintiffs—James Bruner, Robert Lenz, Michael Zeeck, Richard Berens, Michael

Jacks, Bryan Forrest, and Ed Beattie (“Unaffected Plaintiffs”)—because they “do not

allege that their vehicles malfunctioned in any way” and thus “have not alleged a

particularized or actual injury, which is necessary to establish Article III standing in federal

court.” In re Polaris Mktg., Sales Practices, & Prod. Liab. Litig., 364 F. Supp. 3d 976,

983-84 (D. Minn. 2019) (“Opinion”). As the Court made clear, “for the purpose of Article

III standing, ‘it is not enough for a plaintiff to allege that a product line contains a defect

or that a product is at risk for manifesting this defect;’” rather, “a plaintiff must allege that




1
  Paragraph cites refer to plaintiffs’ First Amended Complaint (“Complaint”) [Dkt. 70].
All emphasis added and internal citations and quotations omitted unless otherwise noted.
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 5 of 39




the particular product purchased by the plaintiff exhibited the alleged defect.” Id. at 983

(quoting Wallace v. ConAgra Foods, Inc., 747 F.3d 1025, 1030 (8th Cir. 2014)).

       As in their initial pleading, the Unaffected Plaintiffs do not allege their vehicles

“overheated, caught fire, or otherwise failed to perform as intended,” and thus have again

“failed to allege an injury in fact sufficient to confer Article III standing as to their claims.”

Opinion at 983. Their claims of “excessive heat” (which is nowhere defined) that can cause

“unseen” or “microscopic” degradation (which they do not claim has manifested on their

own vehicles) are speculative conclusions that seek to circumvent the Court’s Opinion.

Likewise, allegations that “Class Vehicle owners and lessees are unable to operate their

Class Vehicles without putting themselves at risk of injury and property damage due to the

Excessive Heat Defect, the thermal degradation of component parts that occurs due to the

Excessive Heat Defect, and the fire hazard the Excessive Heat Defect” (¶16), do not

demonstrate a particularized or actual injury as required for standing.

       The law recognizes that all products “degrade” through wear and tear associated

with regular and ordinary use, especially those with combustion engines like the vehicles

here. Absent facts showing their vehicles caught fire or otherwise malfunctioned, the

Unaffected Plaintiffs’ claims cannot confer standing without eviscerating Article III as well

as the law of warranty, which recognizes that products are warranted for a limited period

of time because wear and tear affects their performance. In addition, because six of the

Unaffected Plaintiffs are required to plead a manifest defect under applicable state law, and

they fail to do so, their claims must be dismissed for this reason as well. To hold otherwise
                                                2
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 6 of 39




would mean every vehicle manufacturer would be liable for alleged “degradation”—no

matter how insignificant—the minute their combustion-engine vehicles were used. The

Court should once again dismiss the Unaffected Plaintiffs’ claims.

       Second, all plaintiffs’ warranty claims—except for Luna’s—fail as a matter of law. 2

Thirteen plaintiffs’ express warranty claims and eleven plaintiffs’ implied warranty claims

do not allege any problem or issue within the warranty period (or fail to allege they

provided Polaris the opportunity to provide a warranty-period repair), precluding such

claims. And ten plaintiffs’ warranty claims are barred because they did not provide Polaris

with pre-suit notice. Plaintiffs’ claims under the Magnuson-Moss Warranty Act should be

dismissed because plaintiffs lack standing to pursue relief on behalf of a nationwide class,

and their MMWA claims (except for Luna’s) independently fail because their implied

warranty claims fail.

       Third, six plaintiffs’ unjust enrichment claims should be dismissed because their

respective states require them to directly confer a benefit on defendants. These plaintiffs

cannot make this showing where they allege they bought their vehicles from third-party

dealers, not Polaris.

       Fourth, plaintiffs’ Pennsylvania and Texas fraud-based claims are barred by the

economic loss doctrine, and plaintiffs’ Louisiana, Pennsylvania, South Dakota and Texas

fraudulent omission claims fail because those states do not recognize a duty to disclose


2
   Polaris moves to dismiss the warranty claims of all plaintiffs except Luna, because he
alleges a vehicle fire within the warranty period (¶135) and pre-suit notice (¶344).
                                             3
         CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 7 of 39




under the allegations here. Moreover, Luna’s and Guthrie’s fraud-based claims fail

because they do not allege they reviewed or relied on any representation by, or had any

communications with, Polaris.

         Fifth, the Louisiana Products Liability Act—which provides the exclusive remedy

against product manufacturers—bars all but one of Guthrie’s claims.

         As set forth in Exhibit 1 to the Declaration of R. Allan Pixton, 3 the Court should

dismiss with prejudice all claims except for Luna’s unjust enrichment and warranty claims,

Halvorsrod’s and Rogers’ consumer fraud claims, Turgeon’s unjust enrichment and

consumer fraud claims, and Guthrie’s redhibition claims. See, e.g., O’Neil v. Simplicity,

Inc., 574 F.3d 501, 504 (8th Cir. 2009) (affirming dismissal with prejudice after plaintiffs

provided opportunity to amend); U.S. Hotel & Resort Mgmt., Inc. v. Onity, Inc., 2014 WL

3748639, at *3 (D. Minn. July 30, 2014) (dismissal with prejudice for lack of standing);

Thunander v. Uponor, Inc., 887 F. Supp. 2d 850, 856 (D. Minn. 2012) (same).

      STATEMENT OF ALLEGED AND JUDICIALLY NOTICEABLE FACTS

         A.     The Parties.

         Polaris designs and manufactures, in part, off-road vehicles sold to end users by

independent dealers. (¶¶22-107.) Between 2013 and 2018, Polaris and the Consumer

Product Safety Commission (“CPSC”) announced a number of voluntary recalls covering




3
    Exhibit citations refer to exhibits to the Pixton Declaration.
                                                4
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 8 of 39




some putative class vehicles, though the recalls addressed distinct issues and provided

different repairs. (¶¶181-216.)

      The plaintiffs and whether they allege their vehicles malfunctioned follow:



      Name             State                Vehicle                Alleges Vehicle Fire?


 Berens, Richard        MN            2017 General 1000                     No

  Bruner, James         AL           2017 Ranger XP 900                     No

    Luna, Jose          CA        2018 Polaris RZR XP Turbo                 Yes

Halvorsrod, Clint       FL          2017 Ranger Highlifter                  Yes

   Lenz, Robert         GA           2017 RZR Highlifter                    No

 Zeeck, Michael          IL           2017 RZR XP 1000                      No

 Guthrie, Jimmy         LA            2017 Ranger 1000                      Yes

  Rogers, Chad          MI              2015 RZR 900                        Yes

  Jacks, Michael        OH           2015 Ranger XP 900                     No

 Elkin, Benjamin        PA           2016 Ranger XP 900                     Yes

   Turgeon, Les         SD             2014 Ranger 570                      Yes

  Forrest, Bryan        TX             2015 Ranger 570                      No

 Rodriguez, Isaac       TX              2015 RZR 900                        Yes

    Beattie, Ed         WY           2016 Ranger XP 900                     No
                                           5
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 9 of 39




       Seven plaintiffs—Luna, Halvorsrod, Guthrie, Rogers, Elkin, Turgeon, and

Rodriguez—allege an “Excessive Heat Defect” caused fires in their vehicles. (¶¶30, 36,

54, 60, 78, 84, 96.) The Unaffected Plaintiffs do not. Instead, two Unaffected Plaintiffs

(Forrest and Beattie) simply allege they felt “excessive heat,” (¶¶90, 103) and the rest

(Bruner, Lenz, Zeeck, Berens, and Jacks) allege their vehicles “generate[] excessive heat”

(¶¶24, 42, 48, 66, 72), without alleging any facts explaining what “excessive” heat is or

how it differs from non-“excessive” heat. No Unaffected Plaintiff claims that his vehicle

malfunctioned, that he does not ride his vehicle, that his vehicle has degraded, that the

“service life” of his vehicle has decreased, or that his vehicle does not perform as intended.

       B.     Plaintiffs’ Vehicles Were Covered by Polaris’ Limited Warranty.

       Each plaintiff alleges he received a written Polaris Limited Warranty with the

purchase of his vehicle and asserts a claim for breach of that express warranty. 4 (¶¶299,

353, 419, 460, 509, 558, 610, 663, 714, 764, 815, 865, 903.) For all plaintiffs except Elkin

(for whom Polaris could not locate any records), excerpted copies of the Limited Warranty

and registration history for plaintiffs’ vehicles are collectively attached in Exhibit 2.




4
  The Court may consider the Limited Warranty on which each plaintiff bases his claims,
including documents sufficient to show when he purchased his vehicle and when his
respective warranty coverage expired. See Hatch v. TIG Ins. Co., 301 F. 3d 915, 916 n.2
(8th Cir. 2002) (documents are properly considered where complaint “references and relies
upon such documents as the basis for [plaintiff’s] claims”); Porous Media Corp. v. Pall
Corp., 186 F. 3d 1077, 1079 (8th Cir. 1999) (When considering a motion to dismiss, the
Court may consider “materials that are necessarily embraced by the pleadings.”).
                                               6
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 10 of 39




       C.     Plaintiffs’ Claims And Alleged Damages.

       Plaintiffs bring claims for unjust enrichment, implied and express warranty,

fraudulent omission, consumer fraud, and redhibition. Plaintiffs also allege a nationwide

claim under the Magnuson-Moss Warranty Act (“MMWA”). Plaintiffs do not seek

damages for physical injury, property damage, or out-of-pocket losses for repairs. (¶261.)

Instead, they allege their vehicles have “diminished” in value and they “would not have

purchased the vehicle or would have paid significantly less.” (E.g., ¶¶27, 456, 861.)

                                       ARGUMENT

       To survive dismissal, plaintiffs must allege facts sufficient “to state a claim to relief

that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). Mere

“labels and conclusions” are insufficient, as is a “formulaic recitation of the elements of a

cause of action.” Id. at 555. “And legal conclusions couched as factual allegations may be

disregarded.” Opinion at 982 (citing Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Applying

these standards, the Court should dismiss with prejudice plaintiffs’ claims as set forth in

the motion and Exhibit 1.

I.     THE UNAFFECTED PLAINTIFFS SHOULD BE DISMISSED FOR LACK
       OF STANDING AND FAILURE TO ALLEGE A MANIFEST DEFECT.

       The claims of the Unaffected Plaintiffs should again be dismissed for lack of

standing. “As a jurisdictional prerequisite, standing must be established before reaching

the merits of a lawsuit … and a federal district court must dismiss any aspect of a lawsuit

over which it lacks subject-matter jurisdiction.” Opinion at 982 (citing City of Clarkson


                                               7
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 11 of 39




Valley v. Mineta, 495 F.3d 567, 569 (8th Cir. 2007)). “To establish Article III standing, an

injury must be ‘concrete, particularized, and actual or imminent; fairly traceable to the

challenged action; and redressable by a favorable ruling.’” Clapper v. Amnesty Int’l USA,

568 U.S. 398, 409 (2013). Because the seven Unaffected Plaintiffs do not allege facts

showing they have suffered any injury in fact, their claims fail. Additionally, the failure

of six Unaffected Plaintiffs to allege a manifest defect dooms their claims under state law.

       A.      Seven Unaffected Plaintiffs Lack Article III Standing To Assert Claims.

       Attempting to end-run the Court’s Opinion, the Unaffected Plaintiffs relabel their

purported “Engine Overheat/Fire Defect” as an “Excessive Heat Defect” that “affects All

Class Vehicles because it degrades [their] component parts, reduces the[ir] service life, 5

and makes them vulnerable to catastrophic fires.” (¶1.) But plaintiffs must do more than

merely assert the existence of a “defect”—a legal conclusion—they must plead claims

“supported by factual allegations” sufficient to render them plausible. Iqbal, 556 U.S. at

679. As this Court held, plaintiffs must allege facts showing that “the particular product

purchased by the plaintiff exhibited the alleged defect.” Opinion at 983. The Unaffected

Plaintiffs fail to do so here.

       First, as in their initial complaint, the Unaffected Plaintiffs “do not allege that their

vehicles malfunctioned in any way. There are no allegations that their vehicles ever

overheated, caught fire, or otherwise failed to perform as intended.” Opinion at 983. Nor


5
 Plaintiffs do not define “service life” or allege what this would be for the class vehicles.
Nor do they attempt to differentiate it from warranty coverage.
                                               8
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 12 of 39




do they allege that they do not or cannot ride their vehicles because of the alleged defect.

For these reasons alone, the Unaffected Plaintiffs “have failed to allege an injury in fact

sufficient to confer Article III standing as to their claims.” Id.

       Second, the Unaffected Plaintiffs do not attempt to identify what constitutes

“excessive heat” in a combustion engine that, by definition, generates heat. Plaintiffs do

not allege or describe any point or temperature at which exhaust heat is “excessive” or how

allegedly “excessive” exhaust heat in their vehicles differs from exhaust heat that is not

“excessive.” (¶14 (admitting “engines and exhaust systems in all [off-road vehicles]

typically generate high temperatures”).) Adding “excessive heat” to the word “defect”

adds nothing and does not transform a naked conclusion into a factual allegation. See, e.g.,

Twombly, 550 U.S. at 545 (“a plaintiff’s obligation ... requires more than labels and

conclusions”); Acevedo v. Ross, 2019 WL 343246, at *4 (E.D.N.Y. Jan. 28, 2019)

(dismissing bare allegations of “excessive” force as “merely a ‘label and conclusion’”);

Alas v. AT&T Inc., 2018 WL 6133648, at *5 (C.D. Cal. Oct. 29, 2018) (“the bare allegation

that the transaction fees were excessive is akin to a label or conclusion”); McCauley v.

Shaw, 2017 WL 769908, at *2 n.2 (E.D. Mo. Feb. 28, 2017) (general allegations of

“excessive” force do not satisfy Iqbal); Bourne v. Stewart Title Guar. Co., 2011 WL

635304, at *5 (D.N.H. Feb. 16, 2011) (dismissing claims of “excessive” interest fees

unsupported by facts).

       Although plaintiffs claim to have “conducted heat testing on a sample of three

Polaris vehicles,” they did not test any of their own vehicles, nor even the same model
                                               9
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 13 of 39




vehicles. (¶158.) Thus, even putting aside that the Unaffected Plaintiffs do not allege their

vehicles malfunctioned or do not operate as intended, the Complaint is devoid of factual

allegations showing how or why any heat generated by their vehicles is “excessive,” a

subjective term that does not identify a defect. Wallace, 747 F. 3d at 1030 (“The Supreme

Court has made it clear that standing must be particularized, meaning the alleged ‘injury

must affect the plaintiff in a personal and individual way.’”); Opinion at 983 (“[T]o assert

claims as a class representative in a putative class action lawsuit, the class representative

must have standing to assert his or her own claims.”) (citing In re Milk Prods. Antitrust

Litig., 195 F. 3d 430, 436 (8th Cir. 1999)).

       Third, while the Complaint alleges generally that the “Excessive Heat Defect”

“degrades the Class Vehicles’ component parts” (¶1), the Unaffected Plaintiffs do not

claim, much less assert facts to show, their own vehicles have degraded. Nor do they

explain how any purported “thermal degradation” differs from the normal wear and tear

that occurs in any vehicle or other product with a combustion engine, or how the additional

degradation could even be identified. See, e.g., Glass v. Allis-Chalmers Corp., 618 F.

Supp. 314, 316 (E.D. Mo. 1985) (“[I]t is clear that as time goes by and a product is used,

it or its parts may simply wear out. To hold the manufacturer or seller liable for … ordinary

wear and tear would be to place the manufacturer or seller in the place of an insurer.”),

aff’d, 789 F. 2d 612 (8th Cir. 1986); see also, e.g., Ex. 2 at 5, 16, 21, 26, 33, 39, 44, 49, 53,




                                               10
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 14 of 39




60, 65, 72, 77 (excluding “normal wear and tear” from Polaris’ Express Warranty).” 6

Indeed, the very treatise plaintiffs rely upon (¶165) explains that “exposure to heat will

reduce component life due to negative effect of heat on material properties,” and “all

materials are expected to experience some level of thermal degradation.” (Ex. 3, Alaa

El-Sharkawy, Transient Modeling of Vehicle Under-hood and Underbody Component

Temperatures, 9 SAE Int’l J. Material Mfg. 330 (May 2016). 7 In the absence of any factual

allegation that their own vehicles have “degraded” or how any purported degradation

attributable to the alleged defect can be measured or identified, plaintiffs provide no more

than “legal conclusion couched as a factual allegation.” Iqbal, 556 U.S. at 678.

       Fourth, plaintiffs again rely on allegations concerning a “risk” of fire, injury and

property damage: “Class Vehicle owners and lessees are unable to operate their Class

Vehicles without putting themselves at risk of injury and property damage due to the

Excessive Heat Defect....” (¶16; see id. ¶¶8, 10, 27, 90, 215.) But as this Court held in



6
  In Minnesota, wear and tear must be considered when a manufacturing defect is alleged.
See, e.g., Beckel v. Alexander, 271 Minn. 14, 20 (1965) (affirming judgment because “it is
equally as probable that the top rung of the ladder collapsed and plaintiff fell because it
was not strong enough to support the weight of plaintiff and his load or due to a weakening
developed from the wear and tear of prior use as it is that it collapsed because of a defect
in construction of the top rung.”); Bach v. Unisys Corp., 1996 WL 146433, at *4 (Minn.
Ct. App. Apr. 2, 1996) (affirming refusal to instruct on res ipsa loquitur where “it is difficult
to assume that there could not have been some normal wear and tear, normal deterioration,
or normal obsolescence that could have contributed to slippage or an improvident
movement of the plunger blade.”).
7
  Because plaintiffs rely on this article to support their claims (see ¶165 n.54), the Court
can consider it in deciding this motion. See n.4, supra.
                                               11
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 15 of 39




dismissing these very claims brought by the Unaffected Plaintiffs, “[a]llegations that a

product line contains a defect or that a product poses a risk of exhibiting a defect are

insufficient,” and the “allegation that the risk of a possible future malfunction exists [also]

is insufficient.” Opinion at 983 n.2 (emphasis in original).

       B.     The Unaffected Plaintiffs’ Claims Fail Under Well-Settled Precedent.

       Courts in this Circuit consistently reject product defect claims indistinguishable

from those asserted by the Unaffected Plaintiffs. In Wallace v. ConAgra Foods, for

example, plaintiffs alleged the defendant sold meat advertised as “100% kosher” that was

not. 747 F.3d at 1027. Defendant’s kosher inspection process was purportedly “defective

and unreliable” because some non-kosher meat was used. Id. at 1028. Like the Unaffected

Plaintiffs’ allegations of “microscopic” and “unseen” thermal damage here, the Wallace

plaintiffs admitted that “it is impossible for any reasonable consumer to detect whether

purportedly kosher meat is non-kosher.” Id. at 1030. The Eighth Circuit held that plaintiffs

lacked standing to assert their claims because their “allegations fail to show that any of the

particular packages of Hebrew National beef they personally purchased contained non-

kosher beef.” Id. at 1030. Like the Unaffected Plaintiffs here, “[w]ithout any particularized

reason to think the consumers’ own packages of Hebrew National beef actually exhibited

the alleged non-kosher defect, the consumers lack Article III standing to sue.” Id.

       In Thunander v. Uponor, plaintiffs alleged they purchased homes with defective

plumbing that failed to meet toxicity requirements for potable water use. 887 F. Supp. 2d

at 857. As with the Unaffected Plaintiffs here, the Thunander plaintiffs alleged that the
                                              12
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 16 of 39




defendant’s pipe was defective but “do not allege that their own pipes have been tested and

demonstrate toxicity or lack of compliance with the [toxicity] standards.” Id. at 862. The

Court dismissed plaintiffs’ claims with prejudice for lack of standing, holding that

“plaintiffs have not conducted any testing on their pipes to determine whether they exhibit

the alleged defect.” Id. at 865-65; see also id. at 873, 876-77.

       Similarly, in George v. Uponor, plaintiffs claimed that plumbing components were

defective and caused “dezincification,” a “form of chemical corrosion in which zinc

leaches out” of the components “upon exposure to water, the very liquid plumbing systems

are designed to convey.” 988 F. Supp. 2d 1056, 1060 (D. Minn. 2013). The Court found,

however, that all but three plaintiffs failed to “allege that they personally have experienced

dezincification or any other manifestation of a defect” and dismissed their claims: “[p]ut

in its simplest terms, without suffering from dezincification, these plaintiffs cannot pursue

damages for leaky pipes or other harms caused by dezincification.” Id. at 1070. 8

       Likewise, in Browe v. Evenflo Co., Inc., plaintiff claimed the defendant’s car seat

contained a “defective harness buckle subject to recall.” 2015 WL 3915868, at *1 (D.

Minn. June 25, 2015). The complaint alleged that “[s]hortly after purchasing the seat,

[plaintiff] noticed that the buckle was becoming more difficult to unlatch”; “the release


8
   In re Zurn Pex Plumbing Prod. Liab. Litig., 644 F. 3d 604 (8th Cir. 2011), provides no
support for the Unaffected Plaintiffs. Unlike the Zurn plaintiffs, whose claim that the
alleged defect “afflicts all of the [plumbing] fittings upon use” and “is already manifest in
all [plumbing] systems” was “supported . . . with expert testimony,” id. at 617, the
Unaffected Plaintiffs make no such claim and, indeed, do not allege their own vehicles
malfunctioned.
                                             13
        CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 17 of 39




mechanism became significantly more difficult to operate” and she broke “her fingernails

at least twice while unlatching the buckle”; and she “eventually removed the seat from her

vehicle and placed it in her husband’s car so it would be used less frequently.” Id. ¶ 48.

The Court dismissed plaintiff’s warranty claims, holding that she “failed to allege that she

suffered a sufficient physical or pecuniary injury to sustain her merchantability claim.” Id.

at *4. Specifically, “Browe does not allege that the defect caused her to cut the seat’s nylon

straps or otherwise render the seat unusable.” Id. The Court also underscored plaintiff’s

admission that “her family continues to transport their child in the seat that has the allegedly

defective safety component.” Id. 9 The decision goes on to hold:

               The Court is especially troubled by this last uncontested fact.
               It is a difficult proposition to accept that the lead plaintiff in a
               products liability lawsuit seeking class action status can
               credibly pursue liability while continuing to use the very same
               product the lawsuit claims is dangerously defective and
               warrants a pecuniary remedy.

Id. at 4; see, also, e.g., Onity, 2014 WL 3748639 at *3 (dismissing claims because, “even

assuming that the lock mechanism is presently defective for purposes of products liability

law—despite the fact that it still performs the functions of locking the door upon closing it

and unlocking it upon insertion of a properly-coded key card—no present injury has

occurred, other than the costs plaintiffs have incurred to remedy the defect.”).

        So too with the Unaffected Plaintiffs here who allege no facts showing their own

vehicles malfunctioned or generate heat that renders them unusable or defective. The Court


9
    Plaintiff’s remaining claims were dismissed on other grounds. 2015 WL 3915868, at *6.
                                               14
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 18 of 39




should dismiss their claims for lack of standing, as recognizing such allegations would

eviscerate the particularized injury requirements of Article III and this Circuit’s settled law.

       C.     Six Unaffected Plaintiffs’ Claims Also Fail Under State Law Because
              They Allege No Manifest Defect.

        As this Court has instructed, the “injury in fact” requirement for Article III

 standing is distinct from the “damages” component of claims brought under state law.

 Opinion at 984; see also Onity, 2014 WL 3748639 at *3 (“The concepts of defect and

 whether that defect has manifested itself to cause damages so as to support an actionable

 injury are relevant to the issue of liability under the substantive law of products

 liability.”). Where, as here, the Unaffected Plaintiffs cannot establish an actual and

 particularized injury for purposes of standing, they cannot demonstrate a manifest defect

 required to show any injury or damages under state law.

        “Under Eighth Circuit authority, ‘[c]ourts have been particularly vigilant in

 requiring allegations of injury or damages in products liability cases.’ … Specifically,

 in such cases, a plaintiff must allege a manifest defect.” Thunander, 887 F. Supp. 2d at

 861 (quoting Briehl v. GM Corp., 172 F. 3d 623, 627 (8th Cir. 1999)); O’Neil, 574 F. 3d

 at 503 (same; affirming dismissal of analogous class action under Minnesota law for

 damages arising from CPSC-recalled consumer products, finding lack of a manifest

 defect “fatal to their case”).

       Numerous decisions have applied this principle to dismiss claims—whether under

 fraud, consumer fraud, warranty, or other state laws—against vehicle manufacturers

 where a defect did not manifest in the plaintiff’s vehicle, causing injury or damage. E.g.,
                                              15
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 19 of 39




 Briehl, 172 F. 3d at 628 (“Where, as in this case, a product performs satisfactorily and

 never exhibits an alleged defect, no cause of action lies.”); In re Bridgestone/Firestone,

 Inc., 288 F. 3d 1012, 1017 (7th Cir. 2002) (rejecting “theory that selling products with

 undisclosed attributes, and thus worth less than represented”); Miller v. GM LLC, 2018

 WL 2740240 (E.D. Mich. June 7, 2018) (dismissing warranty, consumer fraud,

 fraudulent omission and unjust enrichment claims, in part because plaintiffs who did not

 allege their vehicles “malfunctioned in any way” and who did not allege the “defect ever

 manifested itself in their vehicles” had not sufficiently stated their claims); Weaver v.

 Chrysler    Corp.,   172    F.R.D.    96,   99    (S.D.N.Y.    1997)    (dismissing    fraud,

 misrepresentation, and warranty claims where defect in child seat did not manifest in

 plaintiff’s vehicle); Hubbard v. GM Corp., 1996 WL 274018, at *3-4 (S.D.N.Y. May 22,

 1996) (plaintiff could not recover for defective braking system without manifest

 defect); Feinstein v. Firestone Tire & Rubber Co., 535 F. Supp. 595, 602 (S.D.N.Y.

 1982) (owners of tires that performed satisfactorily had not suffered damage to support

 a claim, even though others’ tires failed); see also Brooks v. Remington Arms Co., 2010

 WL 6971894 at *4 (W.D. Ark. Oct. 27, 2010) (dismissing without leave to amend and

 noting “[t]he striking feature of a typical no-injury class is that the plaintiffs have either

 not yet experienced a malfunction because of the alleged defect or have experienced a

 malfunction but not been harmed by it”).

       Plaintiffs cannot circumvent the manifest defect requirement by alleging they were

injured by overpaying for their vehicles or that their vehicles have diminished in value. In

                                              16
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 20 of 39




O’Neil, for example, plaintiffs insisted that “they [had] not received the benefit of the

bargain: they paid for a drop-side [baby] crib and now they do not use the crib because the

drop-side is not safe,” and sought to recover the difference in value between a crib with a

functional drop-side and a crib without one. 574 F. 3d at 504. The Eighth Circuit rejected

this argument, holding that where plaintiffs’ “crib has not exhibited the alleged defect, they

have necessarily received the benefit of their bargain.” Id.; see also Bridgestone/Firestone,

288 F. 3d at 1017 (“If tort law fully compensates those who are physically injured, then

any recoveries by those whose products function properly mean excess compensation.”).

       Likewise, in Carlson v. General Motors, the Fourth Circuit rejected plaintiffs’ claim

of injuries from the diminished resale value of their vehicles equipped with allegedly

defective diesel engines or by the vehicles’ allegedly “poor reputation.” 883 F. 2d 287,

289, 297-98 (4th Cir. 1989) (“[I]mplied warranty of merchantability clearly does not

encompass consumer expectations that a product will hold its value; and it is for this reason

that several courts have rejected claims similar to those pressed here.”); accord Briehl, 172

F. 3d at 629 (finding insufficient as a matter of law allegations of “loss in resale value”).

        Here, Berens, Bruner, Lenz, Jacks, Forrest, and Beattie do not allege a defect

 manifested in their vehicles causing them to malfunction. Under the law of their states, 10

 they do not have valid claims. Accordingly, their claims should be dismissed.


10
   E.g., (Minn.) Carey v. Select Comfort Corp., 2006 WL 871619, at *2-3 (Minn. Dist. Ct.
Jan. 30, 2006) (“[D]iminished value premised on the possibility of future product failure is
insufficient to support a claim for relief.”); (Ala.) Ford Motor Co. v. Rice, 726 So. 2d 626,
628-629 (Ala. 1998) (“[P]urchasers of an allegedly defective product have no legally
                                                17
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 21 of 39




II.    THE MAJORITY OF PLAINTIFFS’ WARRANTY AND MAGNUSON-
       MOSS CLAIMS FAIL AS A MATTER OF LAW.

       This Court dismissed Halvorsrod’s and Rogers’ warranty claims because they did

not allege pre-suit notice as required by state law. Opinion at 985. The Court rejected their

contention that pre-suit notice was satisfied because Polaris allegedly had knowledge of a

defect through other customers’ complaints and its internal knowledge of purported

defects. Id. Because Berens, Bruner, Zeeck, Lenz, Jacks, Elkin, Turgeon, and Forrest



recognizable claim where the alleged defect has not manifested itself in the product they
own” and “‘[w]here … a product performs satisfactorily and never exhibits the alleged
defect, no cause of action lies.’”); Pfizer, Inc. v. Farsian, 682 So. 2d 405, 407 (Ala. 1996)
(“Farsian’s concern that his heart valve, which is presently functioning normally, could
later malfunction is not an injury recognized by Alabama law.”); (Ga.) Tiismann v. Linda
Martin Homes Corp., 610 S.E. 2d 68, 70 (Ga. 2005) (“[E]ven an award for general damages
under the FBPA is limited to those damages that can be measured by ‘actual injury
suffered.’”); Weidman v. Ford Motor Co., 2019 WL 3003693, at *4–5 (E.D. Mich. July 10,
2019) (dismissing implied warranty claim where plaintiff failed to allege “the vehicle was
inoperable or unusable.”); (Ohio) Felix v. Ganley Chevrolet, Inc., 49 N.E. 3d 1224, 1231-
1232 (Ohio 2015) (“[T]he OCSPA limited the damages available in class actions to actual
damages” and “[p]roof of actual damages is required before a court may properly certify a
class action”; this requirement is “consistent with the majority of decisions by other states’
appellate courts, which also hold that plaintiffs who bring private causes of action under
their states’ consumer-protection statutes are required to plead and prove actual damages
or injury.”); Gentek Bldg. Prod., Inc. v. Sherwin-Williams Co., 2005 WL 6778678, at *11
(N.D. Ohio Feb. 22, 2005) (no “injury compensable in contract, express warranty, implied
warranty, or tort until the very product in question has caused some harm to person or
property.”); (Tex.) Everett v. TK-Taito, L.L.C., 178 S.W. 3d 844, 861 (Tex. App. 2005)
(rejecting claims where seat belt buckles had not malfunctioned); Polaris Indus. Inc. v.
McDonald, 119 S.W. 3d 331, 340 (Tex. App. 2003) (dismissing where plaintiff “sustained
no injury due to its alleged defects”); DaimlerChrysler Corp. v. Inman, 252 S.W. 3d 299,
303-07 (Tex. 2008) (same); (Wyo.) Wyo. Stat. Ann. §40-12-108 (limiting consumers to
“an action under this act for the damages he has actually suffered”); see also Broderick v.
Dairyland Ins. Co., 270 P. 3d 684, 692 (Wyo. 2012) (explaining availability of “remedies
in limited circumstances”).
                                             18
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 22 of 39




likewise fail to allege pre-suit notice, their warranty claims fail under their states’ law.

Despite leave to amend, plaintiffs did nothing to cure, relying again on allegations of

constructive notice through other consumer complaints and internal knowledge. (E.g.,

¶280.) Such “general notice” allegations are insufficient as a matter of law. Opinion at

985. 11 Accordingly, the Court should dismiss with prejudice all plaintiffs’ UCC-based12

warranty claims except Rodriguez’s (who alleges pre-suit notice). Furthermore, most

plaintiffs’ express and implied warranty claims are barred by Polaris’ Limited Warranty.

“And because an MMWA claim requires an underlying state-law breach-of-warranty

claim,” Opinion at 985, the Court should dismiss plaintiffs’ MMWA claims with prejudice.



11
    E.g., (Minn.) Drobnak v. Andersen Corp., 561 F. 3d 778, 785-86 (8th Cir. 2009)
(affirming dismissal of claims based “solely on [other consumers’] notice and lawsuits”);
Daigle v. Ford Motor Co., 713 F. Supp. 2d 822, 827 (D. Minn. 2010) (dismissing claims
where plaintiffs failed to allege pre-suit notice); (Ala.) Hobbs v. GM Corp., 134 F. Supp.
2d 1277, 1285 (M.D. Ala. 2001) (same); Smith v. Apple, Inc., 2009 WL 3958096, at *1-2
(N.D. Ala. Nov. 4, 2009) (same); (Fla.) Opinion at 985 (same); Jovine v. Abbott Labs.,
Inc., 795 F. Supp. 2d 1331, 1340 (S.D. Fla. 2011) (same); (Ga.) Garcia v. Chrysler Grp.
LLC, 127 F. Supp. 3d 212, 225-26 (S.D.N.Y. 2015) (same); Skeen v. BMW of N. Am., LLC,
2014 WL 283628, at *15 (D. N.J. Jan. 24, 2014) (same); (Ill.) Connick v. Suzuki Motor
Co., 675 N.E. 2d 584, 590 (Ill. 1996) (same); (Mich.); Opinion at 985 (same); Johnston v.
PhD Fitness, LLC, 2018 WL 646683, at *3-4 (E.D. Mich. Jan. 31, 2018) (same); (Ohio)
St. Clair v. Kroger Co., 581 F. Supp. 2d 896, 902 (N.D. Ohio 2008) (same); (Pa.) Schmidt
v. Ford Motor Co., 972 F. Supp. 2d 712, 719 (E.D. Pa. 2013) (same); (S.D.) Brookings
Mun. Utilities, Inc. v. Amoco Chem. Co., 103 F. Supp. 2d 1169, 1177 (D.S.D. 2000) (same);
(Tex.) Morgan v. Medtronic, Inc., 172 F. Supp. 3d 959, 970-71 (S.D. Tex. 2016) (same);
In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 978 (N.D. Cal. 2014) (same);
(Wyo.) Petro-Chem, Inc. v. A.E. Staley Mfg. Co., 686 P. 2d 589, 591 (Wyo. 1984) (same).
12
    Turgeon alleges warranty claims under Pennsylvania law (¶¶812-31), but such claims
fail as a matter of law because Turgeon purchased his vehicle in South Dakota and alleges
no connection to Pennsylvania.
                                            19
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 23 of 39




       A.     Eleven Plaintiffs’ UCC Warranty Claims Are Barred Because They Do
              Not Allege Pre-Suit Notice.

       Twelve plaintiffs assert express and/or implied warranty claims under the UCC, all

of which—with the exception of Rodriguez’s—fail because they did not “provide pre-suit

notice to defendants, as is required by their states’ law.” Opinion at 984; see also Minn.

Stat. Ann. §336.2-607(3)(a) (“Where a tender has been accepted . . . the buyer must within

a reasonable time after the buyer discovers or should have discovered any breach notify

the seller of breach or be barred from any remedy;”); Ala. Code §2-607(3)(a); 13 Fla. Stat.

Ann. §672.607(3)(a); Ga. Code Ann. §11-2-607(3)(a); 810 ILCS §5/2-607(3)(a); Mich.

Comp. Laws §440.2607(3)(a); Ohio Rev. Code Ann. §1302.65(C)(1); 13 Pa. Cons. Stat.

Ann. §2607(c)(1); S.D. Codified Laws §57A-2-607(3)(a); Tex. Bus. & Comm. Code Ann.

§2.607(c)(1); Wyo. Stat. Ann. §34.1-2-607(c)(i).

       B.     Thirteen Plaintiffs’ Express Warranty Claims Are Barred By Polaris’
              Limited Warranty.

       All plaintiffs assert express warranty claims based on Polaris’ Limited Warranty,

which plaintiffs allege is “substantially identical for all models” and provides that for a

period of six months, Polaris will cover the cost of repair or replacement for all components

of the covered vehicle. (E.g., ¶276.) Eleven plaintiffs’ claims should be dismissed because

they do not allege that a problem occurred during the warranty period, and all but Luna


13
    Bruner’s failure to provide Polaris pre-suit notice also precludes his consumer fraud
claim. See Ala. Code §8-19-10; ¶¶217-227; Deerman v. Fed. Home Loan Mortg. Corp.,
955 F. Supp. 1393, 1399–400 (N.D. Ala. 1997) (“[F]ailure to reasonably describe the unfair
or deceptive practice in a timely letter is fatal to [plaintiff’s] claim.”).
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        CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 24 of 39




should be dismissed because they do not allege they gave Polaris the opportunity to address

the purported issue within the warranty period and that Polaris refused to do so.

         “The general rule is that an express warranty has no affect after the applicable time

period has elapsed.” Marchante v. Sony Corp. of Am., Inc., 801 F. Supp. 2d 1013, 1020

(S.D. Cal. 2011); Abraham v. Volkswagen of Am., Inc., 795 F. 2d 238, 241 (2d Cir. 1986)

(“express warranties in this case do not cover automobile defects manifesting themselves

after expiration of the time/mileage limits of the relevant warranties”). Courts across the

country enforce this rule, holding that plaintiffs must allege a breach occurred within the

warranty period. 14 Only three plaintiffs—Luna, Halvorsrod, and Rogers—allege any

breach or malfunction during the warranty period. (¶¶29-30, 35-36, 59-60.) The remaining

plaintiffs do not allege warranty-period problems, requiring dismissal of their claims. 15

         Additionally, the express warranty claims of all plaintiffs except Luna fail because

they did not allege they presented their vehicles to Polaris for repair within the warranty

period and that Polaris failed to do so. See, e.g., Miller, 2018 WL 2740240, at *7



14
   See, e.g., In re OnStar Contract Litig., 600 F. Supp. 2d 861, 879 (E.D. Mich. 2009);
McCabe v. Daimler AG, 948 F. Supp. 2d 1347, 1359 (N.D. Ga. 2013); Osness v. Lasko
Prod., Inc., 868 F. Supp. 2d 402, 411 (E.D. Pa. 2012) (dismissing express warranty claim
where plaintiff failed to allege product “malfunctioned or that she otherwise discovered a
defect in [the product] within the two-year warranty period”); Licul v. Volkswagen Grp. of
Am., Inc., 2013 WL 6328734, at *2 (S.D. Fla. Dec. 5, 2013); Sonner v. Mullinax Ford
North Canton, Inc., 2000 WL 700313, *2 (Ohio App. May 22, 2000); Mountain Fuel
Supply Co. v. Cent. Eng’g & Equip. Co., 611 P. 2d 863, 872 (Wyo. 1980); Tokar v.
Crestwood Imports, Inc., 532 N.E. 2d 382, 388-389 (Ill. App. 1988).
15
     Elkin alleges a fire but not whether it occurred within the warranty period. (¶¶77-78.)
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      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 25 of 39




(dismissing express warranty claims under Michigan, Illinois, and other states’ law because

“[p]laintiffs have not pled facts demonstrating that the alleged defects became apparent

during the warranty period, that they presented their vehicles for repair, or that [vehicle

manufacturer] was unwilling or unable to repair their vehicles”). Moreover, they cannot

avoid dismissal by alleging in conclusory fashion that Polaris’ Limited Warranty is invalid

because it purportedly fails in its essential purpose. Except for Wyoming and Louisiana, 16

plaintiffs can assert that a warranty fails in its essential purpose only if they give the

manufacturer or seller an opportunity—often multiple opportunities—to correct the

purported issue. 17 Plaintiffs allege Polaris issued recall campaigns (e.g., ¶¶192, 197, 201-


16
  Polaris located no authority indicating these states recognize the essential purpose
exception.
17
    E.g., (Minn.) Christian v. Sony Corp. of Am., 152 F. Supp. 2d 1184, 1189 (D. Minn.
2001) (warranty did not fail where plaintiff “never made a claim on the warranty”); (Ala.)
Ag-Chem Equip. Co. v. Limestone Farmers Co-Op., Inc., 567 So. 2d 250, 252 (Ala. 1990)
(warranty did not fail in essential purpose where defendant was not given “the opportunity
to rebuild the engine in accordance with the warranty”); (Fla.) David v. Am. Suzuki Motor
Corp., 629 F. Supp. 2d 1309,1319 n.11 (S.D. Fla. 2009) (“‘[E]ssential purposes’ exception
typically has been limited to circumstances involving repeated (unsuccessful) efforts to
repair a product that completely fails in its intended use.”); (Ga.) Helpling v. Rheem Mfg.
Co., 2016 WL 1222264, at *8 (N.D. Ga. Mar. 23, 2016) (“Georgia courts have required a
showing of multiple attempts to repair a defect in order to sustain a breach of warranty.”);
(Mich.) Zanger v. Gulf Stream Coach, Inc., 2005 WL 3163392, at *5 (E.D. Mich. Nov. 28,
2005) (assessing reasonableness of repair based on “numerous, individual repairs”);
TIBCO Software, Inc. v. Gordon Food Serv., Inc., 2003 WL 21683850, at *6 (W.D. Mich.
July 3, 2003) (warranty did not fail in essential purpose where plaintiff “did not make a
warranty claim within the ninety-day period”); (Ohio) Chemtrol Adhesives, Inc. v. Am.
Mfrs. Mut. Ins. Co., 42 Ohio St. 3d 40, 56, (1989) (“It would be unreasonable as a matter
of law to conclude that the remedy failed of its essential purpose” without evidence
defendant was unable or unwilling to replace or repair the problem.); (Ill. and Pa.) Wozniak
v. Ford Motor Co., 2019 WL 108845, at *2-3 (E.D. Mich. Jan. 4, 2019) (dismissing
warranty claims for failure to plead plaintiffs presented vehicles to Ford to have allegedly
                                               22
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 26 of 39




03, 207-209). But besides Luna (¶¶344-45), plaintiffs do not allege they gave Polaris an

opportunity to perform the recall and/or other repairs, and thus cannot show a breach

occurred, or that the warranties failed in their essential purpose. Accordingly, all express

warranty claims (except Luna’s) should be dismissed.

       C.     Ten Plaintiffs’ Implied Warranty Claims Are Barred By Polaris’
              Limited Warranty.

       Ten plaintiffs’ implied warranty claims must be dismissed under the terms of

Polaris’ Limited Warranty. Their states permit a seller to modify an implied warranty

provided the written modification is conspicuous. E.g., Minn. Stat. Ann. §336.2-316(2)

(“[T]o exclude or modify the implied warranty of merchantability or any part of it the

language must mention merchantability and in case of a writing must be conspicuous ...”). 18

The MMWA likewise permits limitations on an implied warranty so long as it is for a

reasonable period of time and “set forth in clear and unmistakable language and

prominently displayed on the face of the warranty.” 15 U.S.C. §2308(b).




defective part replaced); (S.D.) In re Seagate Tech. LLC Litig., 233 F. Supp. 3d 776 (N.D.
Cal. 2017) (dismissing express warranty claims under South Dakota and other states for
failure to allege consumers provided manufacturer adequate opportunities to remedy);
(Tex.) Ross Neely Sys., Inc. v. Navistar, Inc., 2015 WL 12939110, at *2 (N.D. Tex. May
28, 2015) (plaintiff must “allege that [defendant] willfully failed or refused to make
repairs”; alleging defendant “could not ‘fix’ the underlying design defect” is insufficient).
18
   See also Ala. Code §7-2-316(2); Ga. Code Ann. §11-2-316(2); Mich. Comp. Laws
§440.2316(2); Ohio Rev. Code Ann. §1302.29(B); 13 Pa. Stat. and Cons. Stat. Ann.
§2316(2); S.D. Codified Laws §57A-2-316(2); Tex. Bus. & Comm. Code Ann. §2.316(b);
Wyo. Stat. Ann. §34.1-2-316(b).
                                             23
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 27 of 39




       Polaris’ Limited Warranty explicitly limits any implied warranty to the duration of

the six-month warranty period, and does so using all-capitalized words:

       THE IMPLIED WARRANTY OF FITNESS FOR A PARTICULAR PURPOSE IS
       EXCLUDED FROM THIS LIMITED WARRANTY. ALL OTHER IMPLIED
       WARRANTIES (INCLUDING BUT NOT LIMITED TO THE IMPLIED
       WARRANTY OF MERCHANTABILITY) ARE LIMITED IN DURATION TO
       THE ABOVE SIX MONTH WARRANTY PERIOD.

(Ex. 2 at 6, 17, 22, 27, 34, 40, 45, 50, 54, 61, 66.) Plaintiffs do not allege the limitations

to Polaris’ Limited Warranty are not conspicuously stated in their owners’ manuals. Two

conclusions follow:

       First, Polaris’ limitation on the implied warranty of merchantability is enforceable

under state law and MMWA—it is written, conspicuous, and of a reasonable duration. See,

e.g. Vartek, LLC v. Axiall, LLC, 2019 WL 1316415, at *4 (W.D. Pa. Mar. 22, 2019)

(dismissing Pennsylvania implied warranty claim because disclaimer in all capitalized

letters was conspicuous as a matter of law); In re Ford Tailgate Litig., 2014 WL 1007066,

at *4-5 (N.D. Cal. Mar. 12, 2014) (dismissing Ohio and Texas implied warranty claims

where vehicle sold with written limited warranty); Hamilton v. Cross Country Chrysler

Plymouth, Inc., 1979 WL 208771, at *4-5 (Ohio App. Nov. 14, 1979) (affirming dismissal

of implied warranty claims based on express disclaimer); M.J. Bradley Co. v. Gen.

Polymers Corp., 1994 WL 594156, at *2-3 (E.D. Pa. Oct. 28, 1994) (finding limitation on

implied warranty printed in all-capital letters conspicuous under Ohio law).

       Second, because Polaris’ Limited Warranty is effective, plaintiffs who do not allege

a problem during the implied warranty period fail to state a claim. By the plain terms of
                                             24
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 28 of 39




Polaris’ Limited Warranty, all applicable implied warranties, including the implied

warranty of merchantability, “are limited in duration to the above six month warranty

period.” (Ex. 2 at 6, 17, 22, 27, 34, 40, 45, 50, 54, 61, 66, 73.) Because only Luna alleges

to have had, or to have reported to a dealership, any issues with his vehicle within the

warranty period, the implied warranty claims of the remaining plaintiffs must be dismissed.

See, e.g., Brisson v. Ford Motor Co., 349 Fed. App’x 433, 434-35 (11th Cir. 2009)

(affirming dismissal of implied warranty claim where “plaintiffs failed to allege that a

defect manifested itself or a breach occurred within” the applicable warranty period). 19

       D.     Plaintiffs’ Magnuson-Moss Claims Should Be Dismissed.

       As the Court found with Halvorsrod and Rogers, because all plaintiffs’ (except for

Luna’s) warranty claims fail, so too do their MMWA claims fail. See Opinion at 985 (citing

Sipe v. Workhorse Custom Chassis, LLC, 572 F. 3d 525, 530 (8th Cir. 2009)); see also,

e.g., Browe, 2015 WL 3915868, at *5 (same); Chin v. Gen. Mills, Inc., 2013 WL 2420455,

at *7 (D. Minn. June 3, 2013) (same). 20

       Furthermore, plaintiffs lack standing to pursue relief on behalf of a nationwide

MMWA class. See Insulate SB, Inc. v. Advanced Finishing Sys., Inc., 2014 WL 943224,



19
   Bruner’s implied warranty claims should be dismissed for the additional reason that he
he purchased his vehicle from a dealer and thus he is not in privity with Polaris. See
Rampey v. Novartis Consumer Health, Inc., 867 So. 2d 1079, 1087 (Ala. 2003) (finding
implied warranty claim “not available against a manufacturer who was not involved in the
transaction pursuant to which the complaining party purchased the product.”).
20
   Jacks cannot maintain an MMWA claim. Sloan v. GM LLC, 287 F. Supp. 3d 840, 882
(N.D. Cal. 2018) (dismissing MMWA claim based on Ohio implied warranty in tort claim).
                                            25
       CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 29 of 39




at *11 (D. Minn. Mar. 11, 2014) (no “standing to assert any of the state law claims” where

plaintiff could not allege it “suffered injury in any other state”). A nationwide claim under

the MMWA requires allegations that Polaris violated the underlying warranty laws of all

50 states. But plaintiffs fail to identify plaintiffs for 37 of 50 states or Washington, D.C. As

a result, their nationwide claim must be dismissed. See Hindsman v. GM LLC, 2018 WL

2463113, at *16 (N.D. Cal. June 1, 2018) (dismissing nationwide MMWA claim because

plaintiffs lacked standing to represent others states’ consumers); In re Packaged Ice

Antitrust Litig., 779 F. Supp. 2d 642, 657 (E.D. Mich. 2011) (same); see also Johnson v.

Nissan N. Am., Inc., 272 F. Supp. 3d 1168, 1175 (N.D. Cal. 2017) (same); Zeiger v. WellPet

LLC, 304 F. Supp. 3d 837, 847 (N.D. Cal. 2018) (same).

III.   THE UNJUST ENRICHMENT CLAIMS OF SEVERAL PLAINTIFFS FAIL.

       A.      Certain Unjust Enrichment Claims Fail Because Plaintiffs Did Not
               Directly Confer A Benefit On Polaris.

       The Court previously dismissed the unjust enrichment claims of Halvorsrod and

Rogers because they—like Jacks, Elkin, Forrest, and Rodriguez—did not buy their vehicles

from Polaris, but instead purchased them from independent dealerships (¶¶23, 29, 35, 41,

47, 53, 59, 65, 71, 77, 83, 89, 95, 102), and their states’ laws require that a plaintiff directly

confer a benefit on the defendant to state an unjust enrichment claim. 21 Opinion at 987.



21
   E.g., (Fla.) Opinion at 986; Extraordinary Title Servs. v. Fla. Power & Light Co., 1 So.
3d 400, 404 (Fla. App. 2009) (affirming dismissal: “Plaintiff cannot allege nor establish
that it conferred a direct benefit upon [defendant]”); (Mich.) Opinion at 987; Storey v.
Attends Healthcare Prod., Inc., 2016 WL 3125210, at *12-13 (E.D. Mich. June 3,
2016) (affirming dismissal because plaintiffs “have not alleged that they directly conferred
                                            26
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 30 of 39




Polaris is a remote manufacturer and these plaintiffs do not allege they purchased from or

made any payment directly to Polaris; instead, they paid independent dealers. Thus, the

unjust enrichment claims of the Florida, Michigan, Ohio, Pennsylvania, and Texas

plaintiffs should be dismissed with prejudice.

IV.    CERTAIN PLAINTIFFS’ FRAUD-BASED CLAIMS FAIL AS A MATTER
       OF LAW. 22

       A.     The Economic Loss Doctrine Bars Consumer and Common Law Fraud
              Claims Under Texas and Pennsylvania Law.

       The Court previously held that the economic loss doctrine bars the consumer fraud

and fraudulent omission claims of the Florida and Michigan plaintiffs. Opinion at 989.

Likewise, the Court should dismiss the Texas and Pennsylvania consumer fraud and

fraudulent omission claims as they too are barred by the economic loss doctrine.



a benefit on Defendant” in a case involving “consumer plaintiffs and a remote
manufacturer”); (Ohio) In re Whirlpool Corp., 684 F. Supp. 2d 942 (N.D. Ohio 2009)
(manufacturer had not been unjustly enriched under Ohio law because plaintiff purchased
product from authorized retailer); (Pa.) Schmidt v. Ford Motor Co., 972 F. Supp. 2d 712,
721-22 (E.D. Pa. 2013) (dismissing unjust enrichment claims against vehicle manufacturer
because “[t]he ‘benefit’ must be conferred by the plaintiff directly—indirect benefits
bestowed by third parties will not support a claim”); (Tex.) In re Ford Motor Co. E-350
Van Prod. Liab. Litig. 2011 WL 601279, at *10 (D.N.J. Feb. 16, 2011) (dismissing claim
under Texas law because plaintiff purchased at dealership).
22
   Additionally, plaintiffs’ Alabama, Georgia, Louisiana, and Ohio consumer fraud class
claims must be dismissed because those states expressly prohibit class claims by private
consumers. See Ala. Code §8-10-10(f); Ga. Code Ann. §10-1-399; La. Rev. Stat.
§51:1409(A); ORC §1345.09(B); Delgado v. Ocwen Loan Servicing, LLC, 2017 WL
5201079, at *10 (E.D.N.Y. Nov. 9, 2017) (dismissing Alabama and Georgia class claims);
McKinney v. Bayer Corp., 744 F. Supp. 2d 733, 748 (N.D. Ohio 2010) (dismissing Ohio
class claims); Grant v. Houser, 2010 WL 3303853, at *6 (E.D. La. Aug. 17, 2010)
(dismissing Louisiana class claims).
                                            27
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 31 of 39




       In Texas, the economic loss rule bars all fraud claims other than fraud in the

inducement. Heil Co. v. Polar Corp., 191 S.W. 3d 805, 816 (Tex. App. 2006) (economic

loss doctrine applied where plaintiff asserted a claim “for ‘fraud,’ not fraudulent

inducement.”); see also, e.g., Mays v. Pierce, 203 S.W. 3d 564, 573 n.15 (Tex. App. 2006)

(“[W]e conclude the Formosa court’s rejection of the independent injury rule is limited to

fraudulent inducement claims and does not extend to fraud generally.”); Hameed Agencies

(pvt) Ltd. v. J.C. Penney Purchasing Corp., 2007 WL 431339, at *5 (Tex. App. Feb. 8,

2007); Medistar Twelve Oaks Partners, Ltd. v. Am. Econ. Ins. Co., 2010 WL 1996596, at

*7 n.8 (S.D. Tex. May 17, 2010).

       In addition, “[t]he Texas Supreme Court has extended the principles underlying the

economic loss rule to DTPA claims under the ‘mere breach of contract’ defense. ... Like

the economic loss doctrine, the mere breach of contract defense ‘is based upon the general

proposition that, when the injury is only the economic loss to the subject of the contract

itself, the action sounds in contract alone.’” BCC Merch. Sols., Inc. v. Jet Pay, LLC, 129

F. Supp. 3d 440, 469 (N.D. Tex. 2015). Plaintiffs here allege only economic losses based

on the purchase of a vehicle subject to a warranty. As in BCC Merchant Solutions,

plaintiffs’ claimed economic losses stem not from the alleged misrepresentation or

omissions, but from failure to perform contractual obligations and therefore are “‘governed

by contract law, not the DTPA.’” Id. at 470 (citing Crawford v. Ace Sign, Inc., 917 S.W.

2d 12, 14 (Tex. 1996)); see also Polley v. Odom, 957 S.W. 2d 932, 940 (Tex. App. 1997)

(“[Defendant’s] failure to fulfill this promise [to be responsible for problems with rental
                                            28
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 32 of 39




unit] is actionable as a breach of contract and not under the DTPA”), vacated on other

grounds, 963 S.W. 2d 917, 918 (Tex. App. 1998). Thus, Forrest’s and Rodriguez’s claims

for fraudulent omission and consumer fraud fail under Texas law. 23 (¶¶702-711.)

       Similarly, the economic loss rule bars common law and consumer fraud claims in

Pennsylvania, particularly in cases seeking economic losses for allegedly defective

vehicles. 73 Pa. Stat. §201-1, et seq.; Werwinski v. Ford Motor Co., 286 F.3d 661, 671,

680-81 (3d Cir. 2002) (holding that “the district court correctly applied the economic loss

doctrine to appellants’ [Pennsylvania] fraudulent concealment claims” that automotive

manufacturer concealed alleged defects).      In Werwinski, the Third Circuit held that

“exempting [consumer fraud] claims from the effects of the economic loss doctrine would

virtually nullify the doctrine since [the statute] is broad enough to encompass nearly every

misrepresentation claim in the commercial sales context.” Id. at 681; 24 see also Martin v.

Ford Motor Co., 765 F. Supp. 2d 673, 684-85 (E.D. Pa. 2011) (dismissing Pennsylvania

fraud claims that van axles were defective because the alleged “intentional misconduct



23
   Although Forrest and Rodriguez allege “Polaris intended to induce, and did induce,
Plaintiff and the other Class members to purchase or lease a Class vehicle” (¶890), this
cursory reference does not convert the claim to one for fraudulent inducement, as this Court
held. Opinion at 989 n.4 (“Plaintiffs do not allege fraudulent inducement claims in the
amended complaint.”).
24
   The Third Circuit’s Werwinski decision is the most persuasive authority absent authority
from Pennsylvania’s highest court. See Arena Holdings Charitable LLC v. Harman Pro.
Inc., 785 F. 3d 292, 296 (8th Cir. 2015) (noting that “other circuits defer to prior panel
decisions absent a subsequent state court decision or statutory amendment that makes the
prior federal opinion clearly wrong”).
                                            29
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 33 of 39




relates to the quality of the good sold”); see also eToll, Inc. v. Elias/Savion Advertising,

Inc., 811 A. 2d 10, 20 n.11 (Pa. Super. Ct. 2002) (finding Werwinski’s “general line of

reasoning” in applying economic loss rule to intentional fraud persuasive); Whitaker v.

Herr Foods, Inc., 2016 WL 4060127, at *9 (E.D. Pa. July 29, 2016) (“Intentional

misrepresentation claims are generally preempted by the economic loss rule”); McGuckin

v. Allstate Fire & Cas. Ins. Co., 118 F. Supp. 3d 716, 721 (E.D. Pa. 2015).

       B.     Louisiana, Pennsylvania, South Dakota and Texas Do Not Impose A
              Duty To Disclose Under The Facts Alleged By Plaintiffs.

       Fraudulent omission requires a duty to disclose the allegedly concealed information.

Texas, Pennsylvania, Louisiana, and South Dakota do not impose any duty to disclose

under the allegations here, so the fraudulent omission claims of plaintiffs from those states

(Forrest, Rodriguez, Elkin, Guthrie, and Turgeon) should be dismissed.

       Under Texas law, “[g]enerally, no duty of disclosure arises without evidence of a

confidential or fiduciary relationship.” Ins. Co. of N. Am. v. Morris, 981 S.W. 2d 667, 674

(Tex. 1998); Gonzalez v. Nat’l Ins. Crime Bureau, 427 F. App’x 394, 398 (5th Cir. 2011)

(same); Baker v. Great N. Energy, Inc., 64 F. Supp. 3d 965, 975 (N.D. Tex. 2014) (applying

dismissing Texas fraudulent omission claim for lack of duty to disclose); Imperial

Premium Fin., Inc. v. Khoury, 129 F. 3d 347, 352-53 (5th Cir. 1997) (“[I]n the absence of

a duty to disclose, mere silence does not amount to fraud or misrepresentation.”).

       Here, Texas plaintiffs Forrest and Rodriguez cannot allege a fiduciary relationship

with Polaris. Nor do they allege a confidential relationship, which requires that “the parties

                                             30
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 34 of 39




have dealt with each other in such a manner for a long period of time that one party is

justified in expecting the other to act in its best interest.” Morris, 981 S.W. 2d at 674

(“subjective trust does not transform arm’s-length dealing into a fiduciary relationship”);

Garcia, 127 F. Supp. 3d at 237 (dismissing Texas concealment claims). Thus, their

fraudulent omission claims fail.

       Similarly, in Pennsylvania, no duty to disclose arises absent a confidential or

fiduciary relationship between the parties: “an omission is actionable as fraud only where

there is an independent duty to disclose the omitted information; and that such an

independent duty exists where the party who is alleged to be under an obligation to disclose

stands in a fiduciary relationship to the party seeking disclosure.” Matter of Estate of

Evasew, 584 A. 2d 910, 913 (Pa. 1990); see also Protica, Inc. v. iSatori Techs., LLC, 2012

WL 1071223, at *5 (E.D. Pa. Mar. 30, 2012) (“a duty to disclose does not typically arise

unless there is a confidential or fiduciary relationship between the parties”).

       Because manufacturers do not have a fiduciary or confidential relationship with

consumers, Pennsylvania courts have held that manufacturers do not have a duty to

disclose. See Slippery Rock Area School District v. Tremco, Inc., 2016 WL 3198122, at

*12-13 (W.D. Pa. June 9, 2016) (dismissing fraudulent concealment claim against

manufacturer, despite high failure rates); Arndt v. Johnson & Johnson, 67 F. Supp. 3d 673,

679 (E.D. Pa. 2014) (allegations of “cover-up of manufacturing defects … cannot

constitute fraudulent concealment”). So too with South Dakota and Louisiana. See, e.g.,

Raven Indus., Inc. v. Topcon Positioning Sys., Inc., 2009 WL 2998570, at *5 (D.S.D. Sept.
                                             31
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 35 of 39




18, 2009) (“[T]he only situation in which the South Dakota Supreme Court has imposed a

duty of disclosure upon parties to an arm’s-length business transaction is upon finding that

an employment or fiduciary relationship exists between the parties.”); Central Facilities

Operating Co., L.L.C. v. Cinemark USA, Inc., 36 F. Supp. 3d 700, 716- 17 (M.D. La. 2014)

(surveying Louisiana law and concluding that “courts have consistently found that a legal

duty must be predicated on a special relationship like a fiduciary relationship”). In the

absence of such a relationship, which does not exist here, the fraudulent omission claims

of plaintiffs Forest, Rodriguez, Elkin, Turgeon, and Guthrie should be dismissed.

       C.     Luna And Guthrie Fail To State Consumer And Common Law Fraud
              Claims Against Polaris.

       Unlike the consumer and common law fraud claims the Court previously sustained,

Luna and Guthrie do not allege they “researched defendants’ products before purchasing

their vehicles,” much less that they “review[ed] defendants’ promotional materials,

website, and commercials.” Opinion at 988. Rather, each alleges only that he discussed

the purchase with friends and salespersons from independent dealerships prior to purchase.

(¶¶32, 56.) And statements or representations by third parties, including dealership

representatives, cannot be attributed to Polaris, as they are separate entities from, and not

agents of, Polaris. See, e.g., Williams v. Yamaha Motor Corp., U.S.A., 2015 WL 13626022,

at *6 & n.9 (C.D. Cal. Jan. 7, 2015) (The “relationship between automobile manufacturers

and their dealers has been examined by a host of courts throughout the country, all of which

have agreed that dealers are not ‘agents’ of manufacturers.”) (collecting cases); State ex

                                             32
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 36 of 39




rel. Bunting v. Koehr, 865 S.W. 2d 351, 354 (Mo. 1993) (“The relationship between the

dealers and [manufacturer] for the sale of [manufacturer’s] products is, therefore, that of

buyer and seller, not agent and principal.”); Causey v. Sewell Cadillac-Chevrolet, Inc., 394

F. 3d 285, 290 (5th Cir. 2004). Neither Luna nor Guthrie alleges he communicated with

anyone from Polaris or reviewed or relied on any materials or representations made by

Polaris. Without such allegations, their fraud and consumer fraud claims fail as a matter

of law. See, e.g., Tae Hee Lee v. Toyota Motor Sales, U.S.A., Inc., 992 F. Supp. 2d 962,

977 (C.D. Cal. 2014) (dismissing California fraud claim with prejudice where plaintiff

failed to allege misrepresentations attributable to defendants); ESG Capital Partners, LP

v. Stratos, 2013 WL 12131356, at *6 (C.D. Cal. Aug. 15, 2013) (same); Galope v. Deutsche

Bank Nat'l Tr. Co., at *5 (C.D. Cal. Jan. 12, 2015), aff’d, 666 F. App'x 671 (9th Cir. 2016)

(“Plaintiff’s [consumer fraud] and fraud claims fail because she has not shown that she

relied on any misrepresentation or omission attributable to the Barclays Defendants.”);

Nussli US, LLC v. Nola Motorsports Host Comm., Inc., 2016 WL 4064011, at *10 (E.D.

La. July 29, 2016) (dismissing Louisiana fraud claims based on alleged misrepresentations

not attributable to defendants).

V.     FOUR OF GUTHRIE’S CLAIMS ARE BARRED BY LOUISIANA LAW.

       Guthrie’s claims for unjust enrichment, fraudulent omission, consumer fraud, and

implied warranty are barred by the exclusivity provision of Louisiana’s Products Liability

Act (“LPLA”). The LPLA “establishes the exclusive theories of liability for manufacturers

for damage caused by their products. A claimant may not recover from a manufacturer for
                                            33
      CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 37 of 39




damage caused by a product on the basis of any theory of liability that is not set forth in

this Chapter.” La. Rev. Stat. §2800.52. None of these claims arise under the LPLA, and

courts routinely dismiss them. See, e.g., Cantu v. C.B. Fleet Holding Co., 2007 WL

689566, at *3 (W.D. La. Mar. 1, 2007) (affirming dismissal of negligence, fraud by

misrepresentation, and implied warranty claims); Pitre v. Yamaha Motor Co., 51 F. Supp.

3d 644, 662 (E.D. La. 2014) (dismissing fraudulent concealment, implied warranty, and

unjust enrichment claims); McLaughlin v. GlaxoSmithKline, LLC, 2014 WL 669349, at *3

(W.D. La. Jan. 6, 2014) (dismissing fraud and unjust enrichment claims); Hilton v. Atlas

Roofing Corp. of Miss., 2006 WL 1581239, at *2 (E.D. La. May 18, 2006) (same). Besides

redhibition (brought under the LPLA), Guthrie’s claims should be dismissed.

                                     CONCLUSION

       As set forth in its motion and herein, the vast majority of plaintiffs’ claims should

be dismissed. Polaris respectfully requests that the Court dismiss with prejudice all claims

other than Luna’s unjust enrichment and warranty claims, Halvorsrod’s and Rogers’

consumer fraud claims, Turgeon’s unjust enrichment and consumer fraud claims, and

Guthrie’s redhibition claims.




                                            34
     CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 38 of 39




                               Respectfully submitted,

Dated: July 12, 2019           /s/ Wendy J. Wildung
                               Wendy J. Wildung (MN #117055)
                               Faegre Baker Daniels LLP
                               2200 Wells Fargo Center, 90 S. 7th St.
                               Minneapolis, MN 55402
                               Tel: (612) 766-7759
                               Wendy.wildung@FaegreBD.com

                                /s/ R. Allan Pixton
                               Richard C. Godfrey, P.C. (admitted pro hac vice)
                               Andrew B. Bloomer, P.C. (admitted pro hac vice)
                               Paul Collier (admitted pro hac vice)
                               R. Allan Pixton (admitted pro hac vice)
                               KIRKLAND & ELLIS LLP
                               300 North LaSalle St.
                               Chicago, IL 60654-3406
                               Phone: (312) 862-2000
                               Fax: (312) 862-2200
                               richard.godfrey@kirkland.com
                               andrew.bloomer@kirkland.com
                               paul.collier@kirkland.com
                               allan.pixton@kirkland.com

                               Attorneys for Defendants Polaris Industries Inc.
                               and Polaris Sales Inc.




                                    35
     CASE 0:18-cv-00939-WMW-DTS Doc. 88 Filed 07/12/19 Page 39 of 39




                             CERTIFICATE OF SERVICE

        I hereby certify that on July 12, 2019, I electronically filed the foregoing using the

CM/ECF system which will serve notification of such filing to the email of all counsel of

record in this action.

                                                  By: /s/ R. Allan Pixton
                                                         R. Allan Pixton




                                             36
